          Case 2:20-cv-00187-SMJ    ECF No. 59    filed 10/16/20   PageID.1235 Page 1 of 2
                                                                                FILED IN THE
                                                                            U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON



                                                                       Oct 16, 2020
1                                                                          SEAN F. MCAVOY, CLERK



2

3                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
4
     JAMES BLAIS and GAIL BLAIS,                   No. 2:20-cv-00187-SMJ
5
                                 Plaintiffs,       ORDER ADOPTING STIPULATED
6                                                  PROTECTIVE ORDER
                    v.
7
     ROSS HUNTER, in his official
8    capacity of Secretary of Washington
     State Department of Children, Youth
9    and Families,

10                               Defendant.

11

12            On October 1, 2020, the parties filed a Joint Certificate Pursuant to Rule 26 /

13   Rule 16 Amended Joint Status Report and Stipulated Protective Order, ECF No.

14   54. The parties, however, did not file a motion for a protective order. See id. The

15   parties agree the Court should enter the proposed protection order. ECF No. 58 at

16   2.

17   //

18   //

19   //

20   //



     ORDER ADOPTING STIPULATED PROTECTIVE ORDER – 1
      Case 2:20-cv-00187-SMJ     ECF No. 59   filed 10/16/20   PageID.1236 Page 2 of 2




1          IT IS HEREBY ORDERED: The parties’ construed motion for Stipulated

2    Protective Order, ECF No. 54-1, is GRANTED. Under Federal Rule of Civil

3    Procedure 26(c) and the parties’ stipulation, the parties’ proposed Stipulated

4    Protective Order,     ECF No. 54-1, is APPROVED, ADOPTED,                     and

5    INCORPORATED in this Order by reference.

6          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

7    provide copies to all counsel.

8          DATED this 16th day of October 2020.

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                         ___________________________
11                       SALVADOR MENDOZA, JR.
                         United States District Judge
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     ORDER ADOPTING STIPULATED PROTECTIVE ORDER – 2
